       Case:18-17812-MER Doc#:283 Filed:06/04/21                                            Entered:06/04/21 22:23:38 Page1 of 3
                                                              United States Bankruptcy Court
                                                                   District of Colorado
In re:                                                                                                                 Case No. 18-17812-MER
Revolar Technology, Inc                                                                                                Chapter 11
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 1082-1                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Jun 02, 2021                                               Form ID: pdf904                                                           Total Noticed: 32
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

#                Addresses marked '#' were identified by the USPS National Change of Address system as requiring an update. While the notice was still deliverable,
                 the notice recipient was advised to update its address with the court immediately.

##               Addresses marked '##' were identified by the USPS National Change of Address system as undeliverable. Notices will no longer be delivered by
                 the USPS to these addresses; therefore, they have been bypassed. The debtor's attorney or pro se debtor was advised that the specified notice was
                 undeliverable.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jun 04, 2021:
Recip ID                   Recipient Name and Address
db                    #+   Revolar Technology, Inc, 201 Milwaukee Street, Suite 200, Denver, CO 80206-5013
aty                    +   Raymond H. Lemisch, 222 Delaware Ave., Ste. 801, Wilmington, DE 19801-1611
aty                    +   Robert Brunelli, 1560 Broadway, Ste. 1200, Denver, CO 80202-5145
cr                     +   Intercoastal Financial, LLC, 7954 Transit Rd #144A, Williamsville, Ne 14221-4117
ptcrd                  +   Julianna Evans Caplan, 1563 44th NW, Washington, DC 20007-2004
ptcrd                  +   Nicole Bagley, 735 S. Fillmore Street, Denver, CO 80209-4816
cr                     +   Victor Lazzaro, 2990 East 17th St., #807, Denver, CO 80206-1675
18157361               +   303 Software, 1070 Bannock Street, Suite 250, Denver, CO 80204-4009
18310817               +   303 Software, Inc., 1070 Bannock Street, Suite 250, Denver, CO 80204-4009
18157365               +   BTM Investments, ATTN Brent Metz, 4134 Fenton Street, Denver, CO 80212-7341
18157364                   Booyah Advertising, P.O. Box 176252-6252, Denver, CO 80217
18157366               +   Burns Figa & Will, P.C., ATTN Dana Eismeier, 6400 South Fiddlers Green Circle, Suite 1000, Englewood, CO 80111-4957
18157370               +   Harvard Business Services, Inc., 16192 Coastal Highway, Lewes, DE 19958-3608
18591386               +   Intercoastal Financial, LLC, 7954 Transit Rd #144A, Williamsville, New York 14221-4117
18157372               +   Jeffrey Eitel, 2047 North Last Chance Gulch, Suite 127, Helena, MT 59601-0744
18157373               +   Joanna Shear, 2031 South Madison Street, Denver, CO 80210-3610
18157374               +   Julianna Evans Caplan, 1563 44th Street NW, Washington, DC 20007-2004
18157375               +   Kurt Hoven, 1001-A East Harmony Road, #502, Fort Collins, CO 80525-8888
18157376               +   Lori Divine-Hudson, 24 Pilgrim Drive, Northampton, MA 01060-1509
18157377               +   Lyn Dyster, PhD., 5061 Forest Road, Lewiston, NY 14092-1904
18157378               +   Merchant Crossroads LLC Daniel Perrone, 115 South 15th Street, Suite 300, Richmond, VA 23219-4254
18157379               +   Nicole Bagley, 735 South Fillmore Street, Denver, CO 80209-4816
18157380               +   Praful Shah, 903 Northern Way, Superior, CO 80027-8314
18157381               +   Rick Divine, 1616 14th Street, Unit 2D, Denver, CO 80202-1340
18157382               +   Rubicon Law Group, Ltd Ryan Howell, 1624 Market Street, Ste 202, Denver, CO 80202-1518
18310467               +   SHERIDAN ROSS P.C., 1560 Broadway, Suite 1200, Denver, CO 80202-5145
18157383               +   Sheridan Ross, P.C., ATTN Rob Brunelli, 1560 South Broadway, Suite 1200, Denver, CO 80210-2608
18310816               +   Stacy R. Dees, 1070 Bannock Street, Suite 250, Denver, CO 80204-4009
18157385               +   TaxOps, ATTN Andrea Collins, 304 Inverness Way South, Suite 300, Englewood, CO 80112-5800
18157386               +   Tom Virden, 1545 Sunset Blvd, Boulder, CO 80304-4231
18157388               +   Women in Kind, 3899 North Jackson Street, Building 1, Denver, CO 80205-3849

TOTAL: 31

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
18157387               + Email/Text: bankruptcy@ups.com
                                                                                        Jun 02 2021 23:43:00      UPS, Lock Box 577, Carol Stream, IL 60132-0577

TOTAL: 1
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District/off: 1082-1                                               User: admin                                                            Page 2 of 2
Date Rcvd: Jun 02, 2021                                            Form ID: pdf904                                                      Total Noticed: 32

                                                     BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID            Bypass Reason Name and Address
acc                               Tax Ops, LLC
18157368                          City Pine Creative
ptcrd               *+            Praful Shah, 903 Northern Way, Superior, CO 80027-8314
18157362            ##+           Amy Divine, 2415 Briarwood Drive, Boulder, CO 80305-6801
18157363            ##+           Blake Yeager, 366 Elk Trail, Lafayette, CO 80026-9054
18157367            ##+           Cerimani, 6 St. John's Lane, New York, NY 10013-2115
18157369            ##+           Daniel Yeager, 2314 Encino Crossing, San Antonio, TX 78259-2407
18300916            ##+           HER Creative Media, 2590 Walnut Street, Attn: HER Creative Media, Denver, CO 80205-2136
18157371            ##+           Her Creative, ATTN Bri Rios, 2590 Walnut Street, Denver, CO 80205-2136
18218829            ##+           Jamie Lindsay, 11401 Meade Pointe, Spotsylvania, VA 22551-4616
18157384            ##+           Steve Bachar, 201 Milwaukee Street, Suite 200, Denver, CO 80206-5013

TOTAL: 2 Undeliverable, 1 Duplicate, 8 Out of date forwarding address


                                                    NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jun 04, 2021                                         Signature:          /s/Joseph Speetjens




                                   CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on June 2, 2021 at the address(es) listed below:
Name                               Email Address
Adam L. Hirsch
                                   on behalf of Petitioning Creditor Nicole Bagley adam.hirsch@dgslaw.com robin.anderson@dgslaw.com

Alison Goldenberg
                                   on behalf of U.S. Trustee US Trustee Alison.Goldenberg@usdoj.gov janice.hensen@usdoj.gov

Jeffrey S. Brinen
                                   on behalf of Debtor Revolar Technology Inc jsb@kutnerlaw.com, vlm@kutnerlaw.com

Keri L. Riley
                                   on behalf of Debtor Revolar Technology Inc klr@kutnerlaw.com, vlm@kutnerlaw.com

Lee M. Kutner
                                   on behalf of Debtor Revolar Technology Inc vlm@kutnerlaw.com

Maureen K. McIntee
                                   on behalf of Debtor Revolar Technology Inc mm@kutnerlaw.com

Megan M. Adeyemo
                                   on behalf of Creditor Security5 LLC madeyemo@gordonrees.com, asoto@grsm.com

US Trustee
                                   USTPRegion19.DV.ECF@usdoj.gov


TOTAL: 8
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